                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI
                                       AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL ERWIN,
 MICHAEL B. ACKERMAN, and KYLE
 FOREMAN, individually and on behalf of all
 others similarly situated,

                  Plaintiffs,
         v.                                                      Case No. 4:24-cv-00803-SRB

 EXXON MOBIL CORPORATION,
 CHEVRON USA INC., CHEVRON PHILLIPS
 CHEMICAL CORPORATION, DUPONT de
 NEMOURS, INC., DUPONT
 CORPORATION, CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY,
 LYONDELLBASELL INDUSTRIES N.V., and
 AMERICAN CHEMISTRY COUNCIL,

                  Defendants.


                    SPECIALLY APPEARING DEFENDANT
          EXXON MOBIL CORPORATION’S MOTION TO TRANSFER VENUE

        Specially Appearing Defendant Exxon Mobil Corporation (“ExxonMobil”) 1, by and

through its undersigned counsel, hereby makes this special appearance and moves this

Court for an order transferring venue to the United States District Court for the District of

Kansas pursuant to the first-filed rule.



1 Exxon Mobil Corporation specially appears only to contest venue via the first-filed rule. By filing this

motion, ExxonMobil does not concede jurisdiction is proper in the District of Kansas or the Western District
of Missouri, and the instant motion does not prevent ExxonMobil from subsequently filing 12(b) motions in
either forum, including but not limited to motions challenging personal jurisdiction under 12(b)(2).
ExxonMobil explicitly preserves all defenses under Rule 12(b) and intends to file such motions after the
appropriate forum is determined. See Fed. R. Civ. P. 12(h)(1). Lewis & Clark Reg. Water Sys., Inc. v.
Carstensen Contracting, Inc., 355 F. Supp. 3d 880 (D.S.D. Dec. 31, 2018); Dekalb Genetics Corp. v.
Syngenta Seeds, Inc., No. 4:06CV01191-ERW, 2007 WL 1223510, at *5 (E.D. Mo. Apr. 24, 2007).
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       In support of this Motion, ExxonMobil incorporates herein and relies upon its

Suggestions in Support filed contemporaneously with this Motion.

       WHEREFORE, ExxonMobil respectfully requests that this Court grant its motion

to transfer venue from the United States District Court for the Western District of Missouri

to the United States District Court for the District of Kansas.



Dated: December 22, 2024                          Respectfully submitted,

                                                  LATHROP GPM LLP

                                                  By: /s/ Richard N. Bien
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                                                     -AND-

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                                               Attorneys for Exxon Mobil Corporation


                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 22, 2024, I electronically filed
the foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
notice of electronic filing to counsel of record.

                                               /s/ Richard N. Bien
                                               Richard N. Bien
                                               An Attorney for Exxon Mobil Corporation




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